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                                            CAUSE NO. DC-19-05466

 MONTEREY RESOURCES, LLC,                                §          IN THE DISTRICT COURT
                                                         §
           Plaintiff,                                    §
                                                         §
 v.                                                      §
                                                         §          101st JUDICIAL DISTRICT
 405 ARAPAHOE, LLC AND ARENA                             §
 INVESTORS, LP,                                          §
                                                         §
           Defendants.                                   §
                                                         §
                                                         §
                                                         §       OF DALLAS COUNTY, TEXAS

                  DEFENDANTS’ NOTICE OF FEDERAL COURT REMOVAL

            Please take notice that Defendants 405 Arapahoe, LLC and Arena Investors, LP

(“Defendants”) have, pursuant to federal law, filed with the clerk of the United States District

Court for the Northern District of Texas a Notice of Removal, a copy of which is attached to this

document as Exhibit 1, and that this action is removed to the United States District Court for trial

as of today, May 13, 2019.

            This Court is respectfully requested to proceed no further in this action, unless and until

such time as the action may be remanded by order of the United States District Court.

                                                     Respectfully submitted,

                                                     BELL NUNNALLY & MARTIN LLP

                                                      By:       /s/ Christopher B. Trowbridge
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                                                     ATTORNEYS FOR DEFENDANTS


                                         CERTIFICATE OF SERVICE

        The undersigned hereby certifies a true and correct copy of the foregoing was served on
the following counsel of record on May 13, 2019, as follows:

VIA EFILE.TXCOURTS.GOV

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                                                           /s/ Christopher B. Trowbridge
                                                           Christopher B. Trowbridge




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